






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-02-00761-CV







In re Salomon Smith Barney, Inc. and Jack Grubman







ORIGINAL PROCEEDING FROM TRAVIS COUNTY





	Relators file their emergency motion for stay and petition for writ of mandamus.  See
Tex. R. App. P. 52.8, 52.10.  We overrule the emergency motion and deny the petition for writ of
mandamus.



					                                                                                   

					Marilyn Aboussie, Chief Justice

Before Chief Justice Aboussie, Justices Kidd and Puryear

Filed:   December 19, 2002

Do Not Publish


